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                       IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION

IN RE:                                              §      CHAPTER 7
                                                    §
AMERICAN UNDERWRITING                               §      Case No. 18-58406-SMS
SERVICES, LLC,                                      §
                                                    §
         Debtor.                                    §
                                                    §
S. GREGORY HAYS, Chapter 7 Trustee for the          §
Estate of American Underwriting Services, LLC,      §      Adv. Pro. No. 19-05202
                                                    §
         Plaintiff,                                 §
v.                                                  §
                                                    §
NEIL WILEY, JAMES RUSSELL WILEY,                    §
THE WILEY GROUP, INC., TW3                          §
TRANSPORTATION, LLC, TW3                            §
LOGISTICS LLC, and TRANSPORT                        §
SOUTH INSURANCE AGENCY, LLC,                        §
                                                    §
         Defendants.                                §


                   MOTION FOR AN ORDER DIMISSING THE ADVERSARY
                         PROCEEDING WITHOUT PREJUDICE



         S. Gregory Hays, Chapter 7 Trustee for the bankruptcy estate (the “Estate”) of American

Underwriting Services, LLC, Debtor in the above captioned bankruptcy case (the “Bankruptcy

Case”) and Plaintiff (“Plaintiff”) in the above captioned adversary proceeding (the “Adversary

Proceeding”), by and through counsel, hereby files—pursuant to Fed. R. Civ. P. 41, made

applicable to this Adversary Proceeding by Fed. R. Bank. P. 7041—this Motion for an Order

Dismissing the Adversary Proceeding Without Prejudice to request that the Court dismiss the

Adversary Proceeding as to all defendants without prejudice. In support thereof, the Plaintiff

provides as follows:
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       While the Plaintiff continues to believe that the Estate has valid claims against Neil Wiley

and the other defendants, the Plaintiff has determined that the dismissal of the Adversary

Proceeding as to all defendants without prejudice is in the best interests of the Estate. Since this

Adversary Proceeding was filed, Defendant Neil Wiley has suffered severe health issues. Further,

either Defendant Neil Wiley nor the other defendants appear to have sufficient resources to satisfy

a judgment and, in light of the circumstances of the case, it now appears that the cost of litigating

the claims will exceed the benefit that may be obtained by litigating the claims in the Adversary

Proceeding to judgment, notwithstanding that valid claims may exist against Mr. Wiley and the

other defendants. The Trustee has conducted an investigation of the assets of Defendant Neil Wiley

prior to filing this Motion.   Defendant Russell Wiley is only recently released from prison and

already faces a significant restitution obligation as part of criminal charges brought against him as

well as significant judgments pending against him. Defaults have already been entered against the

corporate defendants herein and the Trustee is advised and informed that each of these entities are

defunct and have no business or assets.

       The relief requested herein is without prejudice.

       Defendant Neil Wiley has advised the Trustee, through his counsel, that he does not oppose

and supports the dismissal of the Adversary Proceeding for the reasons stated herein.

       WHEREFORE, the Plaintiff respectfully prays that the Court enter an order, substantially

in the form as the proposed order attached as Exhibit A hereto, that dismisses the Adversary




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Proceeding as to all defendants without prejudice and grants Plaintiff such other and further relief

as the Court deems just and proper.

       Dated: April 28, 2021.
                                              LAW OFFICES OF HENRY F. SEWELL JR., LLC

                                              /s/ Henry F. Sewell, Jr.
                                              Henry F. Sewell, Jr.
                                              Georgia Bar No. 636265
                                              Buckhead Centre
                                              2964 Peachtree Road NW, Suite 555
                                              Atlanta, GA 30305
                                              (404) 926-0053
                                              hsewell@sewellfirm.com

                                              Counsel for S. Gregory Hays, Chapter 7 Trustee for
                                              the bankruptcy estate of American Underwriting
                                              Services, LLC, Debtor




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                                         Exhibit A




                       IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION

IN RE:                                           §    CHAPTER 7
                                                 §
AMERICAN UNDERWRITING                            §    Case No. 18-58406-SMS
SERVICES, LLC,                                   §
                                                 §
         Debtor.                                 §
                                                 §
S. GREGORY HAYS, Chapter 7 Trustee for the       §
Estate of American Underwriting Services, LLC,   §    Adv. Pro. No. 19-05202
                                                 §
         Plaintiff,                              §
v.                                               §
                                                 §
NEIL WILEY, JAMES RUSSELL WILEY,                 §
THE WILEY GROUP, INC., TW3                       §
TRANSPORTATION, LLC, TW3                         §
LOGISTICS LLC, and TRANSPORT                     §
SOUTH INSURANCE AGENCY, LLC,                     §
                                                 §
         Defendants.                             §
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                       ORDER DIMISSING ADVERSARY PROCEEDING
                                WITHOUT PREJUDICE

        This matter is before the Court on the Motion for an Order Dismissing the Adversary

Proceeding Without Prejudice (the “Motion”) that was filed in the above captioned Adversary

Proceeding (the “Adversary Proceeding”)—pursuant to Fed. R. Civ. P. 41, made applicable to

this Adversary Proceeding by Fed. R. Bank. P. 7041—by Plaintiff S. Gregory Hays, as Chapter 7

Trustee (“Plaintiff”) for the Estate of American Underwriting Services, LLC, Debtor in the above

captioned Bankruptcy Case and Plaintiff in the Adversary Proceeding, to request that the Court

dismiss the Adversary Proceeding as to all defendants without prejudice.

        Having reviewed and considered the Motion and all other matters of records, including the

lack of objection thereto, after due deliberation thereon and finding that good cause exists for the

entry of this Order and that no further notice or opportunity for hearing is required, for good cause

shown, it is hereby:

        ORDERED that Adversary Proceeding is DISMISSED as to all defendants without

prejudice; and it is further

        ORDERED that the relief granted herein is without prejudice to any right to refile or file

claims against Mr. Wiley or any of the other defendants.

                                     ***END OF ORDER***

Prepared and Presented by:
LAW OFFICES OF HENRY F. SEWELL JR., LLC

/s/ Henry F. Sewell, Jr.
Henry F. Sewell, Jr.
Buckhead Centre
2964 Peachtree Road NW, Suite 555
Atlanta, GA 30305
(404) 926-0053; hsewell@sewellfirm.com



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Counsel for S. Gregory Hays, Chapter 7 Trustee for the
bankruptcy estate of American Underwriting Services, LLC,
Debtor

                                   Parties to be Served:
Eric T. Johnson, PC
4390 Earney Road Suite 230
Woodstock, Georgia 30188

Office of the U.S. Trustee
362 Richard Russell Federal Building
75 Ted Turner Drive, SW
Atlanta, GA 30303

LAW OFFICES OF HENRY F. SEWELL JR., LLC
Henry F. Sewell, Jr.
Buckhead Centre
2964 Peachtree Road NW, Suite 555
Atlanta, GA 30305




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                       IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION

IN RE:                                                §       CHAPTER 7
                                                      §
AMERICAN UNDERWRITING                                 §       Case No. 18-58406-SMS
SERVICES, LLC,                                        §
                                                      §
         Debtor.                                      §
                                                      §
S. GREGORY HAYS, Chapter 7 Trustee for the            §
Estate of American Underwriting Services, LLC,        §       Adv. Pro. No. 19-05202
                                                      §
         Plaintiff,                                   §
v.                                                    §
                                                      §
NEIL WILEY, JAMES RUSSELL WILEY,                      §
THE WILEY GROUP, INC., TW3                            §
TRANSPORTATION, LLC, TW3                              §
LOGISTICS LLC, and TRANSPORT                          §
SOUTH INSURANCE AGENCY, LLC,                          §
                                                      §
         Defendants.                                  §

                                 CERTIFICATE OF SERVICE

         This is to certify that I have this day served a true and correct copy of the Motion for an

Order Dismissing the Adversary Proceeding Without Prejudice by ECF or by mailing a copy of

the same via first class mail with adequate postage affixed thereon to allow proper delivery as

indicated below:

Eric T. Johnson, PC
4390 Earney Road Suite 230
Woodstock, Georgia 30188
(And via ECF)

Office of the U.S. Trustee
362 Richard Russell Federal Building
75 Ted Turner Drive, SW
Atlanta, GA 30303
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James Russell Wiley
6201 Arnall Court, Nw.
Acworth, Georgia 30101

The Wiley Group, Inc.
5605 Glenridge Drive, Suite 900
Atlanta, Georgia 30342

TW3 Transportation, LLC
3390 Peachtree Road, Suite 520
Atlanta, Georgia 30326

TW3 Logistics, LLC
3390 Peachtree Road, Suite 520
Atlanta, Georgia 30326

Transport South Insurance Agency, LLC
4390 Earney Road, Suite 230
Woodstock, Georgia 30188

Dated: April 28, 2021.


                                          LAW OFFICES OF HENRY F. SEWELL JR., LLC

                                          /s/ Henry F. Sewell, Jr.
                                          Henry F. Sewell, Jr.
                                          Georgia Bar No. 636265
                                          Buckhead Centre
                                          2964 Peachtree Road NW, Suite 555
                                          Atlanta, GA 30305
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                                          Counsel for S. Gregory Hays, Chapter 7 Trustee for
                                          the bankruptcy estate of American Underwriting
                                          Services, LLC, Debtor




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